                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NORTHEASTERN DIVISION


DAVID CHERRY, Personal Representative )
of the ESTATE OF PAMELA CHERRY, )
DECEASED,                             )
                                      )
             Plaintiff,               )
                                      )             CASE NO. 2:12-cv-00043
        vs.                           )
                                      )
HANNA C. ILIA, M.D.,
                                      )
             Defendant.               )

                                NOTICE OF SETTLEMENT

       Comes now the plaintiff, by counsel, and hereby notifies the Court that the parties have

reached a settlement in this matter. Dismissal documents will be forthcoming.

                                                    Respectfully submitted,

                                                    WILSON KEHOE WININGHAM LLC

                                                    s/D. Bruce Kehoe__________
                                                    D. Bruce Kehoe
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of March, 2015, I electronically filed the foregoing

with the Clerk of the Court using the EM/ECF system which sent notification of such filing to

the following:

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